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           In the United States Court of Federal Claims
                                         No. 08-14 V
                                      VACCINE CASE
                                  NOT FOR PUBLICATION1
                                     Filed April 23, 2010

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                                      *
SHAWN AND MEGAN BREWER,               *
as the Legal Representatives of their *
Minor Child, RENEE BREWER,            *
                                      *
        Petitioners,                  *
                                      *
v.                                    *
                                      *
SECRETARY OF THE DEPARTMENT *
OF HEALTH AND HUMAN SERVICES, *
                                      *
        Respondent.                   *
                                      *
*************************************
                                            ORDER
       On April 19, 2010, the parties filed a Stipulation, attached hereto as Appendix A, in
which they agreed to withdraw this appeal, settle the case, and described the settlement terms.

        Petitioners allege that their child suffered from off-Table encephalopathy and long-term
sequela as a result of receiving various vaccines including acellular diphtheria-tetanus-pertussis
("DTaP"), haemophilus influenzae type B ("HiB"), hepatitis B, and inactivated polio, that are
contained in the Vaccine Injury Table. 42 C.F.R. § 100.3. Respondent denies that Petitioners’
child suffered an injury that resulted in long term sequela as a result of the vaccines, and denies
that the child’s current disabilities are caused by any vaccination she received. Nevertheless, the
parties have agreed to resolve this matter informally.

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         Because this unpublished order contains a reasoned explanation for the court’s action in
this case, the court intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913
(Dec. 17, 2002). Pursuant to RCFC Appendix B, Vaccine Rule 18(b), this order will be held for
14 days to afford each party an opportunity to object to the public disclosure of any information
that contains trade secrets or commercial, financial information that is privileged, and
confidential, or medical or similar information whose disclosure would clearly be an
unwarranted invasion of privacy. If the court agrees that the identified material fits within the
categories listed above, the judge shall redact such material from public access. 42 U.S.C. §
300aa-12(d)(4)(B); RCFC Appendix B, Vaccine Rule 18(b).
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        Accordingly, the court adopts the parties’ attached stipulation, and awards compensation
in the amount and on the terms set forth therein. Pursuant to the stipulation, the court awards a
lump sum of $35,000.00 in the form of a check payable to Petitioners. This amount represents
compensation for all damages available under 42 U.S.C. § 300aa-15(a).

      The Clerk of the Court for the United States Court of Federal Claims is directed to enter
judgment in accordance with this order.

       IT IS SO ORDERED.


                                                    s/ Susan G. Braden
                                                    SUSAN G. BRADEN
                                                    Judge
